         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 1 of 21



V.E.                             *                IN THE UNITED STATES
                                 *                DISTRICT COURT FOR
Plaintiff,                       *                THE DISTRICT OF MARYLAND
                                 *                (Northern Division)
v.                               *
                                 *
UNIVERSITY OF MARYLAND           *                Case No. _____________________
BALTIMORE COUNTY, MARYLAND *
                                 *
SERVE ON:                        *
Office of the Attorney General   *
c/o Catherine Bledsoe            *
Civil Litigation Division        *
200 Saint Paul Place             *
Baltimore, Maryland 21202        *
                                 *
Defendant.                       *
                                 *
                                 *
*       *      *     *     *   * *                *       *      *      *      *       *

                                       COMPLAINT

       Plaintiff V.E.1, by and through her undersigned attorneys, sues Defendant

University of Maryland, Baltimore County ("UMBC"), and in support, alleges the

following:

                                   Jurisdiction and Venue

        1.    This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because Plaintiff's statutory claim asserts a federal question over which

this Court has jurisdiction and Plaintiff asserts state-law claims over which this Court has

supplemental jurisdiction.



1Plaintiff's Motion to Proceed Under Pseudonym and File Under Seal will be filed when this
case receives a case number.
              Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 2 of 21



            2.      This Court has personal jurisdiction over Defendant pursuant to Fed. R.

Civ. P. 4(k)(1)(a) because Defendant is domiciled in and conducts business within this

judicial district.

            3.      Venue in this Court is proper pursuant to 28 U.S.C § 1391(b) because all of

the acts, events and omissions that gave rise to the claims occurred in this judicial district.

                                                      Parties

            4.      V.E. is a female graduate of UMBC's class of 2022 and a current Maryland

resident. V.E. was a swimmer on UMBC's conference-winning Swimming and Diving

Team from 2017 to 2022.

            5.      Defendant University of Maryland Baltimore County, Maryland ("UMBC")

is a higher education entity located at 1000 Hilltop Circle, Baltimore, Maryland 21250.

            6.      UMBC receives Federal Financial Assistance as an educational institution.

                                                Factual Allegations

            7.      From 1997 to 2022 Chad Cradock was a coach, then Head Coach, for

UMBC's Swimming and Diving Team.

            8.      Cradock presided over numerous championships, records, and even

coached students who competed in the Olympics.

            9.      At the same time, faced with a growing investigation, Cradock resigned as

Head Coach of UMBC's Swimming and Diving Team.2




2
    Cradock took his own life several days later.

                                                        2
              Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 3 of 21



             10.     As a UMBC coach, Cradock exercised power on behalf of the University,

over virtually every aspect of the swimmers' lives.

             11.     Through Cradock and other coaches, UMBC controlled what the swimmers

ate, where they slept, and when they practiced. UMBC further delegated to Cradock the

power to enforce a strict code of conduct on the Swimming and Diving Team.

             12.     UMBC gave Cradock power to decide what events students participated in,

control their scholarship eligibility, revoke students' team membership, and their

corresponding athletic scholarships.

             13.     For UMBC swimmers, Cradock spoke for UMBC. His word was final.

             14.     In 2016, UMBC began recruiting V.E. to enroll and compete as a distance

swimmer on the Swimming and Diving Team.

             15.     V.E accepted admission to UMBC with an athletic scholarship and began

her collegiate career in the Fall of 2017.

             16.     At the start of her freshman year, UMBC assigned V.E. to living quarters in

a freshman dorm room that she shared with another female UMBC swim team member.

             17.     J.W.,3 another freshman who was also on the Swimming and Diving Team,

lived two doors down the hall.

             18.     During V.E.'s freshman year, she and J.W. began a romantic relationship,

which quickly became violent.

             19.     J.W. quickly began to exhibit dangerous behavior towards V.E.



3   V.E. still fears J.W., and for that reason, J.W. is not publicly named.

                                                               3
           Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 4 of 21



         20.     During this time, and for months thereafter, J.W. subjected V.E. to a

prolonged, repeated, severe and pervasive pattern of sexual assault, relationship violence,

sexual intimidation, and sexual harassment.4

         21.     Specifically, J.W. regularly coerced V.E to have sex against her will,

stalked her to and from her dorm room and classes, waited for her in a darkened room to

scare and threaten her, sent innumerable messages through text messages and social

media apps, and by threatening suicide in an attempt to control V.E.

         22.     V.E., who was in the first adult relationship of her life, was terrified, alone,

and helpless.

         23.     J.W.'s abuse left V.E. with injuries to her vagina severe, that they required

medical treatment.

         24.     As the situation continued to deteriorate, V.E. tried to end the relationship

with J.W., but her attempt to end the abuse enraged J.W., and his behavior worsened.

         25.     V.E. first reported J.W.'s abuse to UMBC at a March 2018 meeting in

Cradock's office.

         26.     UMBC did nothing to protect V.E., despite having actual knowledge of the

abuse.

         27.     Upon receiving V.E.'s report, UMBC told V.E. that she, the victim, was

responsible for her sexual assault and J.W.'s gender-based violence and intimidation.



4
 UMBC reached these conclusions in a May 2, 2022 report, titled Investigation Into Alleged Violations of Sexual
Misconduct, Interpersonal Violence, and Other Related Misconduct Policy & Discrimination and Equal Opportunity
Policy. The Report, prepared by the law firm Saul Ewing at UMBC's request, is 77 single-spaced pages long and has
hundreds of pages of exhibits.

                                                       4
           Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 5 of 21



        28.    UMBC demanded that V.E. conceal J.W.'s sexual, physical, and emotional

abuse. UMBC told V.E. it "didn’t want this to be a mess on the [UMBC swim] team."

        29.    UMBC refused to discipline J.W., and did nothing to prevent his constant

gender-motivated harassment of V.E.

        30.    UMBC failed to advise V.E. of her rights, the availability of interim

protective measures to keep her safe, or other reporting opportunities, such as the

Baltimore County Police or the Title IX Office, as UMBC's policy requires.

        31.    Despite V.E.'s numerous reports, UMBC intentionally refused to fulfill its

statutory, common law, or contractual obligations to her.

        32.    As a result of UMBC's inexcusable deliberate indifference, J.W. continued

to sexually harass and abuse V.E.

        33.    As a result, her academic and athletic performances suffered. V.E. became

withdrawn and began to suffer psychological symptoms.

        34.    The abuse continued, even after their dating relationship ended.

        35.    J.W. continued coerce V.E. to submit to his sexual demands. He would

threaten to harm himself or kill himself, and hit himself in V.E.'s presence, until he got

his way.

        36.    J.W. frequently sent V.E numerous, consecutive, and harassing text

messages. J.W. would frequently do so until the early hours of the morning, making it

impossible for V.E. to study or practice the sport she had spent her life mastering.

        37.    For example, in April 2018, over the course of a few days, J.W. sent V.E.

over 200 text messages.

                                              5
         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 6 of 21



        38.     Some of those texts included threats of violence.

        39.     Another student – not the UMBC administration – finally alerted UMBC

Police that J.W. was a threat to himself and others.

        40.     UMBC Police were able to find J.W., and, after reviewing his text

messages to V.E., responding officers transported J.W. to the hospital for an involuntary

psychiatric evaluation.

        41.     J.W.'s messages, reviewed in detail by UMBC Police, reflected unequivocal

gender-based harassment and abuse of V.E.

        42.     That same night, a UMBC Police officer filed a Petition for Emergency

Evaluation of J.W. The officer accurately testified that J.W. presented a danger to the life

or safety of himself or others, presumably including V.E.

        43.     V.E., and others, repeatedly told UMBC about J.W.'s gender-based abuse

and harassment, and the effect it had on V.E's life and studies.

        44.     V.E. informed UMBC that J.W.'s proximity to her dorm room was a serious

threat to her safety.

        45.     As a result of UMBC's inaction, V.E. was forced to move out of the dorm

room she had rightfully earned to avoid further exposure to J.W.'s threats and

intimidation.

        46.     V.E. arrived at UMBC a world-class athlete and a model student.

        47.     After less than a year at UMBC, V.E. was without a place to sleep or live,

and was in constant fear of harm from J.W.

                                              6
           Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 7 of 21



        48.     Instead of taking advantage of the educational opportunities that had drawn

her to UMBC, V.E. was forced to sleep on a friend's couch, in hiding, as if she were an

escapee.

        49.     UMBC knew that V.E. had nowhere to live safely, and did nothing.

        50.     UMBC told V.E. to continue to live on her friend's couch because,

according to UMBC, it was "safe."

        51.     V.E.'s lack of safety, however, was a direct result of UMBC's disregard for

V.E.'s rights as a woman, a student, an athlete, or even a person.

        52.     V.E. again informed UMBC of J.W.'s still-occurring acts of violence and

intimidation.

        53.     V.E. specifically told UMBC that J.W. continued to send harassing

messages, follow her, and threaten self-harm.

        54.     Almost unbelievably, UMBC told V.E. to forward any messages from J.W.

to her coach, and that her coach would ghostwrite her responses to her abuser.

        55.     Instead of protecting V.E. from abuse, UMBC tried to appease her

tormentor.

        56.     UMBC's continued indifference to V.E., while she suffered J.W.'s violence,

resulted in V.E. experiencing mental and emotional suffering.

        57.     V.E. began to suffer constant, debilitating fear, stress, and anxiety that

caused her to miss mandatory off-season training sessions and academic obligations.

        58.     In response to V.E. missing training, UMBC, through Cradock, threatened

to revoke her scholarship.

                                                7
           Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 8 of 21



          59.    UMBC/Cradock followed the threat with another: If V.E. reported to

UMBC's Title IX office, things would "get worse" for her. He again instructed her to not

report anything about J.W. to anyone and to ignore any potential inquiry from UMBC's

Title IX office.

          60.    V.E.'s grades, mental health, and physical well-being continued to suffer

because of J.W.'s ongoing harassment and UMBC's indifference and refusal to take

corrective action.

          61.    J.W. continued to harass V.E. despite her requests that he stop. J.W.'s

harassment included circumventing V.E.'s efforts to block his texts and attempts to

contact her through apps and social media. J.W. repeatedly threatened to harm himself if

she did not continue personal and social media contact with him.

          62.    Because of UMBC's non-response to V.E.'s reports, J.W. was able to

engage in a course of conduct that caused Plaintiff to fear for her immediate health and

safety and suffer substantial emotional distress.

          63.    The harassment did not stop. In one instance, J.W. physically chased

Plaintiff across campus as she fled after seeing him. J.W. caught her in near some offices.

There, he blocked her path. He then assaulted V.E. by grabbing her and shaking her while

screaming at her.

          64.    V.E. was so terrified of J.W. and what he would do to her, especially

considering UMBC's non-response to her reports.5


5Cradock later told V.E. that he saw J.W. attack her. Despite this, UMBC did nothing to stop J.W.'s ongoing assault
of V.E.

                                                         8
         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 9 of 21



        UMBC Forces V.E. to "Mediate" with her Abuser

        65.   Cradock met with J.W. and V.E. separately. At her meeting, V.E. was

crying uncontrollably. V.E. told Cradock she was "not ok." Cradock responded by

laughing and forbid her from pursuing a Title XI Complaint.

        66.   A few days after this public assault, Cradock called V.E. into his campus

office without explanation.

        67.   When she arrived, she was terrified to see J.W.

        68.   Rather than follow its own Title IX protocol, UMBC forced V.E. to meet in

person with J.W.

        69.   Cradock forced V.E. to remain in his office when she attempted to leave.

        70.   While J.W. punched the table, glared at V.E. and successfully intimidated

her.

        71.   On numerous other occasions, J.W. continued to stalk Plaintiff, by

following her to her dormitory room; waiting for her in a dark room; and following her at

UMBC-sponsored events.

        72.   J.W's actions, and UMBC's refusal to do anything to correct them, led V.E.

to fear for her safety and caused her grades to suffer substantially.

        73.   V.E. suffered emotional distress, diminished health, exacerbated previously

existing medical conditions, and decreased her ability to engage in athletic and

educational activities.




                                              9
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 10 of 21



        74.   V.E.'s academic performance was so affected that she was sometimes

unable to complete assignments and projects. Her ability to participate fully and perform

in her athletic endeavors on the Swimming and Diving Team was also affected.

        75.   Acting on behalf of UMBC, Cradock flatly told V.E. not to report the

matter to UMBC's Title IX Coordinator. According to UMBC, if V.E. did so, things

would get worse for Plaintiff, her ability to practice on the swim team would be further

prevented, it would hurt the team, and would make her look bad.

        76.   In contrast, J.W. suffered no real consequences for his actions, and

remained on the UMBC's Swimming and Diving Team, despite the fact that V.E. had

credibly reported his physical and sexual assaults.

        77.   No one at UMBC notified UMBC's then-Title IX Coordinator until June 24,

2018. On that date, Cradock sent a factually inaccurate memorandum and timeline

entitled "Report" to Bobbie Hoye, Esquire, counsel for UMBC.

        78.   Hoye sent V.E. an email regarding the "Report" but took no other action.

        79.   UMBC created and fostered a hostile environment for Plaintiff when it

failed take corrective actions as he was legally required to do.

        80.   UMBC employees failed to timely report to the Title IX Coordinator.

Cradock instead forced her into direct contact and other interactions with her abuser.

        81.   For the remainder of her undergraduate career, V.E. was forced to see her

abuser on campus daily, at swim team activities, in classes, and at her dormitory, until

graduation.

                                 CAUSES OF ACTION

                                             10
         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 11 of 21



                                          COUNT I
                            Violation of 20 U.S.C. § 1681, et. seq.
                         Title IX of the Education Amendments Act

        82.    All numbered paragraphs of this Complaint are incorporated by reference

as if fully stated herein.

        83.    UMBC exercised substantial control over the student who physically

assaulted, sexually coerced, harassed, stalked, and discriminated against V.E. All the

events giving rise to this claim occurred on UMBC's campus.

        84.    The sexual coercion, discrimination and harassment V.E. suffered were

sufficiently severe, pervasive, and objectively offensive that they barred her access to

educational opportunities and benefits offered by UMBC.

        85.    The acts and omissions of Cradock and other UMBC employees created a

hostile educational environment for Plaintiff at UMBC.

        86.    As the Head Coach for the Swimming and Diving Team, Cradock was the

delegee of UMBC's authority to address known gender discrimination directed at V.E. by

other UMBC students.

        87.    Cradock was a "Responsible Employee," as defined by UMBC and was

required to take action to address J.W.'s conduct and report the information he had about

J.W.'s prohibited conduct to the Title IX Coordinator immediately.

        88.    UMBC is liable for Cradock's failures as an institution, pursuant to Title

IX's provisions.

        89.    UMBC failed to inform Plaintiff of her rights and remedies as they related

to the protections granted her by Title IX, but did not.

                                             11
           Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 12 of 21



           90.   V.E.'s report of sexual harassment and assault to Cradock constituted

effective actual notice to UMBC and triggered a legal duty to act.

           91.   UMBC thus had a duty to ac after learning of J.W.'s sexual coercion,

discrimination and harassment of V.E.

           92.   Despite UMBC's legal obligation to take action to redress the harassment, it

did not.

           93.   Cradock, acting for UMBC, treated V.E. complete and deliberate

indifference. UMBC's response to known discrimination was clearly unreasonable and

unlawful, considering the known circumstances.

           94.   UMBC, even apart from Cradock's notorious and unforgivable acts

discriminated against Plaintiff in violation of Title IX by allowing J.W. to subject

Plaintiff to severe and pervasive sexual harassment that prevented her from accessing the

educational opportunities UMBC provided.

           95.   J.W.'s harassment was so severe, pervasive, and objectively offensive that it

effectively barred Plaintiff's access to an educational opportunity and benefit.

           96.   UMBC's deliberate indifference, and willful bad acts, caused V.E. to suffer

the sexual harassment and made her more vulnerable to it.

           97.   UMBC's failure to investigate J.W.'s actions, impose discipline, or offer

protective measures, was inconsistent with its own policies, and violated federal and state

law.

           98.   As a direct and proximate cause of UMBC's violation of Title IX, V.E. was

forced to endure sexual harassment and denied access to a full UMBC education.

                                               12
         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 13 of 21



        99.      UMBC's disregard for V.E.'s education resulted in V.E. being unable to

reside in her assigned UMBC dorm; unable to study safely at the library; unable to walk

on UMBC's campus without fearing for her safety; she was unable to participate in her

sport without fear of physical or sexual violence.

        100. UMBC had an ill-motivated preference for J.W. over V.E. because of their

respective genders.

        101. These deprivations undermined and detracted from Plaintiff's educational

experience and effectively denied her equal access to UMBC's educational resources and

opportunities.

        102. These deprivations were concrete, negative effects on Plaintiff's ability to

participate in her educational program and athletic activities.

        103. These damages suffered by Plaintiff were a direct and proximate cause of

UMBC's deliberate indifference to her rights under Title IX, and clearly unreasonable

response to her plight.

        104. UMBC must be held accountable for its discrimination against V.E.

                                          COUNT TWO
                                         Breach of Contract

        105. All numbered paragraphs of this Complaint are incorporated by reference

as if fully stated herein.

        106. V.E. and UMBC were contractually bound to each other during her

enrollment.




                                              13
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 14 of 21



        107. V.E. paid tuition, complied with UMBC's enrollment procedures and

policies, and competed on the Swimming and Diving Team, as required by her athletic

scholarship.

        108. V.E. complied with all terms of the contractual relationship.

        109. UMBC, however, breached the terms of its contractual relationship with

V.E.

        110. UMBC's relevant Policy on Prohibited Sexual Misconduct, Interpersonal

Violence, and Other Related Misconduct ("Policy") constituted a part of the contractual

relationship between V.E. and UMBC, as the penalty for breaching the Policy included

expulsion.

        111. The Policy sets forth how UMBC agreed to address reports of sexual

misconduct, interpersonal violence, and other related misconduct. The Policy also

enumerated V.E.'s procedural and substantive rights.

        112. The Policy reflects UMBC's contractual duty and legal responsibility to

maintain a campus that is free from unaddressed sexual misconduct, interpersonal

violence, and other related misconduct.

        113. Had UMBC honored it, the terms of the Policy protected V.E. from J.W.'s

imposition upon her right to participate in UMBC's educational programs or activities

and his threat to her health and safety.

        114. The Policy identified certain UMBC employees as "Responsible

Employees," who were required to immediately share the known details of an incident of



                                            14
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 15 of 21



Prohibited Conduct (date, time, location, names of parties involved, description of the

incident) with the Title IX Coordinator.

        115. "Responsible Employees" included all University police employees and all

UMBC athletic coaches.

        116. Cradock was a Responsible Employee.

        117. UMBC's contract with V.E. required that UMBC address, with the Title IX

Coordinator's involvement, any known instances of J.W.'s prohibited conduct towards

her.

        118. The Policy further states that any Responsible Employee who fails to make

such a report is in violation of the policy.

        119. The UMBC Police failed to report J.W.'s violent and discriminatory text

messages to V.E., as required by the Policy, and breached UMBC's contract with V.E.

        120. Cradock/UMBC failed to timely make a report of V.E.'s harassment, and

breached UMBC's contract with V.E.

        121. Cradock/UMBC also instructed V.E. to not cooperate with anyone if

contacted, a direction violation of the Policy.

        122. The Policy provided that V.E. was entitled to request interim protective

measures to ensure her safety and well-bring.

        123. V.E. , in fact, requested provisional or interim measures, and UMBC

ignored them.

        124. The terms of the Policy set forth that UMBC would take appropriate,

responsive, and prompt action to enforce Interim Protective Measures.

                                               15
         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 16 of 21



         125. It did not, despite V.E.'s requests.

         126. These failures were breaches of the contractual relationship, actual or

implied, between V.E. and UMBC.

         127. These contractual breaches caused Plaintiff to suffer substantial emotional

distress resulting in a Post-Traumatic Stress Disorder diagnosis, poor performance in her

academic studies, poor grades, poor performance in her athletic endeavors, inability to

reside in her UMBC dormitory, and ongoing emotional damages.

         128. V.E. did not receive the benefit of her bargain with UMBC, in that she paid

for educational and other services that UMBC denied her access to.

         129. As she did not realize UMBC breached its contract, V.E. should be made

whole.

                                      COUNT III
                       Grossly Negligent Supervision and Retention

         130. Plaintiff incorporates and realleges all numbered paragraphs of this

Complaint into this Count as if fully set forth herein.

         131. UMBC had a fiduciary relationship with Plaintiff as a student.

         132. As a Maryland educational institution, UMBC owed Plaintiff a special duty

of trust and confidence to ensure her safety and well-being.

         133. UMBC, through its staff, breached their duty owed to Plaintiff by, among

other things:

           a. Failing to properly protect Plaintiff from sexual abuse and harassment;

           b. Improperly protecting Plaintiff from sexual abuse and harassment;


                                              16
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 17 of 21



          c. Failing to investigate, correct, and/or otherwise address the openly

              pervasive environment of sexual harassment and discrimination of its

              female student by its male student;

          d. Ignoring and failing to properly address complaints about numerous

              instances of sexual harassment and gender discrimination on its campus;

              and

          e. Failing to supervise, monitor, and/or train staff to handle reports of sexual

              harassment, coercion, assault, and stalking appropriately and adequately.

        134. In retaining Cradock, a known bad actor, UMBC knew that it had created a

danger for V.E. to be sexually harassed, coerced, assaulted, and stalked, but concealed

this from V.E.

        135. UMBC also knew that Cradock was non-compliant with policy and state

and federal law.

        136. UMBC wantonly and recklessly failed to supervise its students,

administrators, instructors, and coaching staff, even after specific complaints of sexual

harassment, coercion, assault and stalking had been lodged against them by Plaintiff.

        137. UMBC's conduct was wanton, malicious, intentionally discriminatory and

oppressive because UMBC disregarded and exhibited reckless indifference to the

foreseeable risks of harm to V.E.

        138. UMBC acted with ill will, hatred, hostility, a bad motive, or the intent to

abuse its power, in that it preferred to protect J.W. from consequences of his harassment,

instead of V.E.

                                             17
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 18 of 21



        139. UMBC's gross negligence caused Plaintiff to experience, severe emotional

distress accompanied by physical manifestations, such as nausea, nightmares, anxiety,

and inability to sleep, among others.

        140. As a direct and proximate result of UMBC's gross negligence, V.E.

sustained serious injuries, had to undergo treatment and medical care, incurred medical

expenses, incurred lost wages, lost time from her daily pursuits, and lost the ability to

function normally.

                                        COUNT IV
                                      Gross Negligence

        141. Plaintiff incorporates and realleges all numbered paragraphs of this

Complaint into this Count as if fully set forth herein.

        142. UMBC entered into a relationship with V.E. that imposed on it a duty of

reasonable care and a duty to protect V.E. from reasonably foreseeable harm.

        143. UMBC breached their duty owed to V.E. by maliciously, or with reckless

disregard:

             a. Failing to properly protect V.E. from sexual abuse and gender-based

                harassment in order to benefit J.W. and Cradock;

             b. Improperly protecting V.E. from sexual abuse and gender-based

                harassment;

             c. Failing to investigate, correct, and/or otherwise address the openly

                pervasive environment of sexual harassment and gender-based

                discrimination of its female student by its male student;


                                               18
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 19 of 21



          d. Ignoring and/or otherwise failing to properly address complaints about

              numerous instances of sexual harassment, sexual coercion, sexual assault,

              and stalking occurring on its campus;

          e. Failing to promptly report V.E.'s sexual harassment, coercion, assault and

              stalking to the proper authorities; and

          f. Failing to supervise, monitor, or train staff to handle reports of sexual

              harassment, coercion, assault, and stalking appropriately and adequately.

        144. UMBC knew or should have known that it had created an opportunity for

V.E. to be sexually coerced, harassed, assaulted, and stalked.

        145. UMBC's actions, and omissions proximately caused V.E.'s injuries.

        146. UMBC's malice, gross negligence, and reckless disregard include Cradock's

actions as the Head Coach for the UMBC Swimming and Diving Team. His malicious

and grossly negligent acts were committed on UMBC's behalf, likely at its directions, and

for UMBC's benefit, while he was performing services for which he was engaged.

        147. Cradock acted in furtherance of UMBC's interests and with UMBC

approval, as evidenced by his order the V.E. remain silent regarding her experience of

sexual harassment and abuse to protect J.W. and UMBC's Swimming and Diving team.

        148. UMBC is liable for Cradock's malicious, grossly negligent, and recklessly

indifferent actions and inactions.

        149. UMBC's conduct was wanton, malicious, and oppressive because UMBC

disregarded or exhibited reckless indifference to the foreseeable risks of harm and acted

with ill will, bad motive, and the intent to abuse its power for its own benefit.

                                             19
        Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 20 of 21



        150. As a direct and proximate cause of UMBC's gross negligence, V.E. has

experienced, and will continue to experience, severe emotional distress accompanied by

physical manifestations, such as nausea, nightmares, anxiety, and inability to sleep,

among others.

        151. As a direct and proximate result of UMBC's gross negligence, V.E.

sustained serious injuries, had to undergo treatment and medical care, to incur medical

expenses, incur lost wages, to lose time from her daily pursuits, to lose the ability to

function normally.

                                        COUNT V
                       Intentional Infliction of Emotional Distress

        152. UMBC, through its staff, intentionally allowed V.E. to be sexually

harassed, discriminated against, assaulted and stalked.

        153. UMBC's conduct in harming V.E.'s well-being, to benefit Cradock and

J.W., was extreme and outrageous and V.E. severe emotional distress.

        154. UMBC's conduct – allowing J.W. to assault and abuse V.E. – was so

outrageous and so extreme in degree, that it exceeds the bounds of human decency, is

atrocious, and is utterly intolerable in a civilized community.

        155. UMBC purposefully intended to cause, or recklessly disregarded the high

probability of causing, a disturbance of Plaintiff's emotional tranquility for the benefit of

Cradock and J.W., who UMBC favored over V.E.

        156. As a direct and proximate result of UMBC's outrageous conduct, V.E.

sustained serious injuries, had to undergo treatment and medical care, to incur medical


                                              20
         Case 1:22-cv-02338-JRR Document 1 Filed 09/14/22 Page 21 of 21



expenses, incur lost wages, to lose time from her daily pursuits, and to lose the ability to

function normally.

       WHEREFORE Plaintiff V.E. requests judgment be entered in her favor against

Defendant University of Maryland Baltimore County as follows:

       A. Compensatory damages in excess of $75,000;

       B. Statutory interest;

       C. Costs; and,

       D. Reasonable attorney's fees.

                                DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a jury trial

on all counts so triable.




Dated: September 14, 2022                      /s/ Rignal W. Baldwin V

                                           Rignal W. Baldwin V
                                           Federal Bar No.: 30136
                                           Baldwin | Seraina, LLC
                                           111 South Calvert Street, Suite 1805
                                           Baltimore, Maryland 21202
                                           Telephone (410) 385-5695
                                           Facsimile (443) 703-7772
                                           rbaldwinv@baldwin-seraina.com




                                             21
